[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION RE: MOTION FOR JUDGMENT
The court has reviewed the record certified to it by the Board of Review, the defendant's memorandum of law, the plaintiff's pleadings and has considered all of its submissions despite his failure to attend the hearing held on November 20, 2002. The decision of the Board of Review follows reasonably from the facts found and correctly applies the law to those facts. The decision is not arbitrary, capricious or contrary to law. The decision is affirmed.
The appeal is dismissed.
BY THE COURT,
___________________ BALLEN, JUDGE TRIAL REFEREE. CT Page 14768